     Case 2:18-cr-00160-CJB-DMD Document 140 Filed 06/13/19 Page 1 of 1



MINUTE ENTRY
BARBIER, J.
JUNE 13, 2019



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                  CRIMINAL ACTION
VERSUS                                                    NO: 18-160
JODY LAMBERT                                              SECTION: "J"

                                    SENTENCING


COURT REPORTER: Cathy Pepper
COURTROOM DEPUTY: Gail Chauvin


PRESENT: Risa Berkower, DOJ, for government
         Ralph S. Whalen, Jr., for defendant

Case called at 10:16 a.m.
Defendant sentenced to count 1 of the Superseding Bill of Information.
Counts dismissed on motion of the United States as to this defendant: all remaining.
See Judgment.
Restitution Hearing set for SEPTEMBER 5, 2019 AT 9:30 A.M.
The defendant was remanded.
Hearing ended at 10:52 a.m.




 JS-10: 36 min.
